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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                               No. 4:22-CR-253-P

LAUREN WHITNEY MOORE (01)

                           GOVERNMENT’S MOTION TO DISMISS

        TO THE HONORABLE MARK T. PITTMAN, UNITED STATES DISTRICT

JUDGE:

        The United States Attorney for the Northern District of Texas, by and through the

undersigned Assistant United States Attorney, files this Government’s Motion to Dismiss

the Indictment filed on August 24, 2022, as to defendant LAUREN WHITNEY MOORE.

        In the interest of justice, the government moves to dismiss the indictment without

prejudice as to defendant LAUREN WHITNEY MOORE.



                                                 Respectfully submitted,

                                                 CHAD E. MEACHAM
                                                 UNITED STATES ATTORNEY

s/ Alex C. Lewis                                 s/ Shawn Smith
ALEX C. LEWIS                                    SHAWN SMITH
Assistant United States Attorney                 Assistant United States Attorney
Deputy Criminal Chief                            Texas State Bar No. 24033206
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                                CERTIFICATE OF CONFERENCE

      I hereby certify that I have conferred with Curt Crum, counsel for the defendant, and
he does not oppose the granting of this motion.


                                               s/ Shawn Smith
                                               SHAWN SMITH
                                               Assistant United States Attorney


                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 17, 2022, I electronically filed the foregoing
document with the clerk for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a Notice of
Electronic Filing to the following attorneys of record who has consented in writing to
accept this Notice as service of this document by electronic means.


                                               s/ Shawn Smith
                                               SHAWN SMITH
                                               Assistant United States Attorney




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